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                             Exhibit 2
                  Declaration of Eden Shemuelian
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  From: Chancellor Gene D. Block <                         >
  Date: Fri, Oct 27, 2023 at 9:01 AM
  Subject: Maintaining a Safe Learning and Working Environment for All
  To: <                                  >

  Dear Bruin Community:

  The ongoing conflict in the Middle East has stirred very deep emotions in many of us. But
  this does not in the least give anyone in our community — or anyone visiting our campus —
  license to make our students, staff or faculty feel unsafe.

  In the past several weeks, my leadership team and I have heard from people across our
  community, from a range of backgrounds, who are feeling anxious and afraid because of
  hateful things they have heard at events or rallies on our campus. These concerns are taking
  place against the backdrop of a stark rise in anti-Semitism over the course of the past
  several years.

  UCLA stands firmly in support of tolerance and mutual respect for all, and we unequivocally
  reject bigotry and hate. Even if Bruins are experiencing anger or grief, we must maintain
  empathy and compassion for those around us. Times of strife are when it is most important
  that we recognize the humanity, respect the perspectives and acknowledge the lived
  experiences of our peers.

  Today, my leadership team will be sharing information about what UCLA is doing to
  promote our values and protect the safety and well-being of all Bruins. I encourage you to
  review and take advantage of resources relevant to you.

  In this intensely challenging period, we must hold ourselves to a higher standard. We must
  reject discrimination in all its forms — anti-Semitism, Islamophobia, anti-Blackness, anti-
  Asian hate and more. This is absolutely vital if our diverse academic community is to
  maintain its bearing now and in the days to come.

  Sincerely,

  Gene D. Block

  Chancellor




  view this email in a browser




                       SHEMUELIAN DECLARATION EXHIBIT 2
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